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                       Exhibit A
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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division


 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, APRIL MUÑIZ, MARCUS
 MARTIN, NATALIE ROMERO, CHELSEA
 ALVARADO, JOHN DOE, and THOMAS
 BAKER,                                                         Civil Action No. 3:17-cv-00072-NKM
                                                                    JURY TRIAL DEMANDED
                                Plaintiffs,
        v.
 JASON KESSLER, et al.,
                                Defendants.



                           DECLARATION OF MAKIKO HIROMI

        I, Makiko Hiromi, on this 12th day of October, 2021, pursuant to 28 U.S.C. § 1746, declare

 as follows:

 1. I am an Associate at the law firm of Paul, Weiss, Rifkind, Wharton & Garrison LLP, one of

    the law firms representing the Plaintiffs in this action.

 2. I am a member in good standing of the New York and Massachusetts Bars. I have been

    admitted to appear pro hac vice before this Court for and on behalf of the Plaintiffs in the

    above-captioned action.

 3. On September 14, 2021, I served Defendant Christopher Cantwell by mailing him a copy of

    Plaintiff’s Exhibit List (ECF No. 1071) at USP Marion, 4500 Prison Rd., PO Box 2000,

    Marion, IL 62959.

 4. That Exhibit List inadvertently contained Highly Confidential information. Accordingly, at

    approximately 8:30 am on September 15, 2021, I sent Defendant Cantwell a letter indicating

    that Plaintiff had inadvertently sent him an exhibit list that contained Highly Confidential


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    information in it, and asking that he dispose of the copy sent to him. The letter further stated

    that Plaintiffs would provide Defendant Cantwell with a revised version shortly.

 5. At approximately 10:20 am on September 15, 2021, Plaintiffs contacted the clerk of the Court

    and notified them that Plaintiffs had inadvertently filed a version of the exhibit list that

    contained Highly Confidential information. Plaintiffs asked that the clerk remove ECF No.

    1071 from the public docket pending our filing of a motion to seal.

 6. At approximately 12:30 pm on September 15, 2021, I served Defendant Cantwell with a copy

    of Plaintiffs’ Motion to Seal Document 1071 (ECF No. 1072), by causing it to be dropped in

    a U.S.P.S. mailbox and mailed to USP Marion, 4500 Prison Rd., PO Box 2000, Marion, IL

    62959.

 7. At approximately 1:20 pm, the Court granted Plaintiffs’ Motion to Seal Document 1071.

 8. At approximately 3:30 pm on September 15, 2021, I served Defendant Cantwell with a revised

    version of Plaintiffs’ Exhibit List (ECF No. 1074) that removed all Highly Confidential

    information, by causing it to be dropped in a U.S.P.S. mailbox and mailed to USP Marion,

    4500 Prison Rd., PO Box 2000, Marion, IL 62959.

 9. On September 22, 2021, I received a call from Katherine Siereveld, agency attorney for the

    Bureau of Prisons. She informed me that staff at U.S.P. Marion had brought to her attention

    Plaintiffs’ letter regarding the erroneous transmittal of the version of Plaintiffs’ Exhibit List

    containing Highly Confidential information.

 10. Ms. Siereveld proposed that she provide Cantwell with the publicly filed version of Plaintiffs’

    Exhibit List (ECF No. 1074) and our letter informing him of the error, and that she could tell

    him that the Highly Confidential version would be stored in a secure location until either 1)

    Defendant Cantwell told prison staff that it could be returned to Plaintiffs’ counsel; or 2) a



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    court ordered that it be provided to him.

 11. In response, I told Ms. Siereveld that I would consult with the rest of Plaintiffs’’ team, and call

    her to confirm whether we were in agreement with her proposal.

 12. On September 23, 2021, I called Ms. Siereveld twice. Both calls went to voicemail, and I left

    her a message on the second attempt at approximately 5:30 pm, informing her that Plaintiffs

    were in agreement with her proposal and asking that she provide Defendant Cantwell with our

    letter and the publicly filed version of Plaintiffs’ Exhibit List.

 13. On October 1, 2021, I served Defendant Cantwell with a copy of Plaintiffs’ Amended Exhibit

    List (ECF No. 1140), by causing it to be dropped in a U.S.P.S. mailbox addressed to USP

    Marion, 4500 Prison Rd., PO Box 2000, Marion, IL 62959.

 14. On October 4, 2021, Defendant Cantwell filed his Objection to Plaintiffs’ Exhibit List (ECF

    No. 1059). Plaintiffs’ counsel received an ECF notification of the filing at 6:18 pm on October

    5, 2021.

 15. On October 6, 2021, at approximately 2:30 pm, I called Ms. Siereveld and left her a voicemail

    stating that I was seeking to confirm whether Defendant Cantwell had been provided with the

    copy of the publicly filed version of Plaintiffs’ revised exhibit list, and asking that she return

    my call or get in touch via email.

 16. At approximately 3:40 pm on October 6, 2021, I was informed by co-counsel that Defendant

    Cantwell had departed U.S.P. Marion on October 5, 2021, in connection with his appearance

    at trial for the above-captioned matter.

 17. On October 8, 2021, I was informed by co-counsel that Defendant Cantwell is being held at

    Grady County Jail in Oklahoma until around October 18, 2021.

 18. On October 9, 2021, I was informed by co-counsel at Kaplan, Hecker & Fink LLP that they



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    had sent Defendant Cantwell a copy of Plaintiffs’ Corrected and Amended Exhibit List at his

    address at Grady County Jail.



   Executed on: October 12, 2021                   Respectfully submitted,
   New York, N.Y.
                                                   /s/ Makiko Hiromi
                                                   Makiko Hiromi




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